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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                             SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
               v.                              )          No. 3:07cr0051 AS
                                               )
 BRANDON M. LOTTIE (01), and                   )
 JOHNNY D. TINKER, (02)                        )

                        MEMORANDUM, OPINION AND ORDER

        In this case as to these two defendants, United States Magistrate Judge Christopher

 A. Nuechterlein entered separate orders of detention each as to the defendant, Brandon M.

 Lottie and Johnny D. Tinker on May 11, 2007. This court held a detention hearing in open

 court with defendants present along with their respective counsel on June 6, 2007, and gave

 follow-up time for the filing of briefs which has now been done.            Basically in that

 proceeding, the government heard the evidence of veteran police officer Radican. This court

 also has the benefit of a transcript of that hearing. The court has also examined pretrial

 services reports as to each defendant as to the defendant Tinker, the pretrial services report

 indicates that there is no condition or combination of conditions to reasonably assure the

 defendant’s appearance or the safety of others in the community. The pretrial services report

 as to Brandon Michael Lottie is slightly more generous, and this court now incorporates fully

 the recommendation of Pretrial Services Officer Reed in its June 5, 2007 report as follows:

        In consideration of the defendant’s risk of non-appearance and danger, it
        appears the defendant may be a suitable candidate for release. Therefore, it is
        recommended that he be released on the following conditions:
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        •      Release on a $20,000 unsecured bond;
        •      Report to U.S. Pretrial Services as required and follow all instructions;
        •      Not possess a firearm or dangerous weapon;
        •      Submit to random testing for substance abuse at the discretion and
               direction of U.S. Pretrial Services
        •      Travel restricted to the Northern District of Indiana.

 This court also has before it a number of petitions and communications acting on behalf of

 these defendants.

        Basic statutory guidance here is under 18 U.S.C. §1341 and §1342. It is not disputed

 that the charges involved in these two defendants are subject to the rebuttable presumption

 under 18 u.S.C. §3142(e). It is correct that presumption creates a burden of production, not

 a burden of persuasion. See United States v. Dominguez, 783 F.2d 702 (7th Cir. 1986), and

 United States v. Portes, 786 F.2d 758 (7th Cir. 1985). It is of no small moment that the

 counts in the indictment carry a mandatory minimum of five years imprisonment and provide

 further for up to 40 years imprisonment. The mandatory nature of the charges cannot be

 gainsaid here. In reality, the elephant in the living room of this case is clearly the amount

 of cocaine, and the court fully realizes that this is not a crack cocaine case, but, nonetheless,

 the amount of cocaine is very substantial for this area. Obviously, these defendants have the

 constitutional protection of the presumption of innocence and the requirement that in a trial

 of this case, the government must prove these charges against the defendants by evidence

 beyond a reasonable doubt. All of that is understood. Notwithstanding that, the factual

 presentation here with regard to the criminality of these defendants raises very serious

 questions about dangerousness to the community as well as whether they would be available

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 for trial. This court is fully aware of the different burdens on these issues as outlined in

 Portes.

        Notwithstanding the able presentations by counsel for these two defendants, this court

 is constrained to determine as to both defendants that there is indeed no arrangement short

 of detention that will ensure their presence for trial and to protect the community from

 dangerous criminal conduct. For these reasons as to both defendants, they will be detained

 pending trial under circumstances where they can privately and fully confer with their

 respective counsel. Such detention is now ORDERED. IT IS SO ORDERED.

        DATED: June 20, 2007


                                                   S/ ALLEN SHARP
                                           ALLEN SHARP, JUDGE
                                           UNITED STATES DISTRICT COURT




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